       Case 2:15-cv-04479-SSV-JCW Document 351 Filed 03/30/20 Page 1 of 4



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

    ALANA CAIN, ET AL.                                         CIVIL ACTION

    VERSUS                                                        NO. 15-4479

    CITY OF NEW ORLEANS, ET AL.                              SECTION “R” (2)



                           ORDER AND REASONS


        The Court has received plaintiffs’ motion for supplemental relief under

28 U.S.C. § 2202.1 Plaintiffs seek a “more specific declaratory judgment.”2

Defendants oppose the motion. 3

        The Court previously granted in part plaintiffs’ motion for partial

summary judgment. 4 In that order, the Court found that “[p]laintiffs are

entitled summary judgment . . . to the extent they seek a declaration that the

Judges’ practice of not inquiring into plaintiffs’ ability to pay before they are

imprisoned for nonpayment violates the Fourteenth Amendment.”5 The

Court stated that “the Judges must inquire into plaintiffs’ ability to pay

before their imprisonment,” and “[t]his inquiry must involve certain


1       R. Doc. 331.
2       See id. at 1.
3       R. Doc. 336.
4       See R. Doc. 279 at 1, 79.
5       See id. at 61.
     Case 2:15-cv-04479-SSV-JCW Document 351 Filed 03/30/20 Page 2 of 4



procedural safeguards, especially notice to the individual of the importance

of ability to pay and an opportunity to be heard on the issue.”6 The Court

also stated that “[i]f an individual is unable to pay, then the Judges must

consider alternative measures before imprisoning the individual.” 7

      Following this order, the Court entered a declaratory judgment. 8 The

judgment stated, in part, that “[t]he undisputed evidence in this case

establishes that the Judges have a policy or practice of not inquiring into

criminal defendants’ ability to pay before those individuals are imprisoned

for nonpayment of court debts.”9 It also stated that “[t]he Fourteenth

Amendment to the U.S. Constitution prohibits a state actor from arresting or

detaining a criminal defendant solely for failure to pay a court-imposed debt

absent a determination of ability to pay.”10 The Court then declared in part,

“[c]onsidering this law, the evidence in the record, and the Court’s orders

and reasons on file herein, . . . that with respect to all persons who owe or

will incur court debts arising from cases adjudicated in OPCDC, the Judges’

policy or practice of not inquiring into the ability to pay of such persons




6     Id.
7     Id.
8     R. Doc. 319.
9     Id. at 1.
10    Id. (citing Bearden v. Georgia, 461 U.S. 660 (1983)).
                                      2
     Case 2:15-cv-04479-SSV-JCW Document 351 Filed 03/30/20 Page 3 of 4



before   they   are     imprisoned   for nonpayment      of court     debts   is

unconstitutional.” 11

      Section 2202 provides that “[f]urther necessary or proper relief based

on a declaratory judgment or decree may be granted, after reasonable notice

and hearing, against any adverse party whose rights have been determined

by such judgment.” 28 U.S.C. § 2202; see also Heimann v. Nat’l Elevator

Indus. Pension Fund, 187 F.3d 493, 510 (5th Cir. 1999) (“[A] court has the

power, upon a subsequent petition, to grant coercive or further declaratory

relief in connection with a final declaratory judgment theretofore entered.”),

overruled on other grounds by Arana v. Ochsner Health Plan, 338 F.3d 433,

440 n.11 (5th Cir. 2003). Plaintiffs request that the Court provide further

relief based on its declaratory judgment by “clarify[ing] the Judges’

obligations.”12 Specifically, they “ask this Court to decree it unconstitutional

for any Orleans Parish Criminal District Court debtor to be imprisoned for

willful nonpayment absent (1) a meaningful inquiry into the debtor’s ability

to pay, preceded by notice of the importance of that issue and including an

opportunity for the debtor to be heard on it, and (2) a finding that the debtor

is able to pay.” 13 The Court finds such relief appropriate here.


11    Id. at 2.
12    See R. Doc. 331-1 at 5.
13    R. Doc. 331.
                                       3
    Case 2:15-cv-04479-SSV-JCW Document 351 Filed 03/30/20 Page 4 of 4



      The Court therefore GRANTS plaintiffs’ motion.            The Court

DECLARES it unconstitutional for any Orleans Parish Criminal District

Court criminal defendant to be imprisoned for willful nonpayment of fines,

fees, or restitution imposed on the criminal defendant by OPCDC absent (1) a

meaningful inquiry into the criminal defendant’s ability to pay, preceded by

notice of the importance of that issue and including an opportunity for the

criminal defendant to be heard on it, and (2) a finding that the criminal

defendant is able to pay.




         New Orleans, Louisiana, this _____
                                       30th day of March, 2020.


                     _____________________
                          SARAH S. VANCE
                   UNITED STATES DISTRICT JUDGE




                                     4
